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Attorneys for Plaintiff


IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO



 Gary L. Merchant,

              Plaintiff

 V                                             Case No.

 Coizon, L.L.C., John Migliori, M.D.,          SECOND AMENDED COMPLAINT
 David Agler, M.D., Warden Keith Yordy,        AND DEMAND FOR JURY TRIAL
 in His Individual Capacity Only, and
 John/Jane Does I-X, whose true identities
 are presently unknown,

              Defendants




        COMES NOW Plaintiff, Gary L. Merchant, by and through his attorney of record,

Jason R.N. Monteleone      of Johnson & Monteleone, L.L.P., and, for cause(s) of action

against Defendants, alleges, avers, and states as follows:




                                      JURISDICTION

1.      The United States District Court for the District of Idaho has jurisdiction over

Plaintiffls federal claims pursuant to 42 U.S.C. $1983, 42 U.S.C. $1331, and28 U.S.C.

$13a3(aX3).


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                                                VENUE

2.        The United States District Court for the District of Idaho is an appropriate venue,

pursuant to 28 U.S.C. $1391(bX2), because a substantialpart of the events or omissions

given rise to Plaintiff s claims, occurred in this district.




                                               PARTIES

             Plaintift Gary L. Merchant, is now,        and at all relevant times herein was, a

             resident of Ada County, Idaho, as he has been incarcerated at the Idaho State

             Correctional Institution ("ISCI') located at 13500 S. Pleasant Valley Road,

             Kuna, Idaho 83634.

     4       The Corizon Defendants are private corporations contracted by the Idaho

             Department of Corrections ("IDOC") to provide medical services to prisoners

             housed at ISCI. These Defendants include all corporate entities, including,

             but not limited to, Corizon,L.L.C., who was a contractor for the state of Idaho

              for the provision of healthcare services at Idaho State Correctional Institution

              ("ISCI")   as   well as other state correctional facilities throughout Idaho at all

             times relevant to this action.

     5        Defendant, John Migliori, M.D., is a physician who was/is an agent and/or

              employee of the Coizon Defendants at all times relevant to this action and

              who resides in the state of Idaho.

     6        David Agler, M.D., is a physician who was/is an agent andlor employee of the

              Corizon Defendants at all times relevant to this action and who resides in the

              state of Idaho.




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  7       Defendant, IDOC, is a state agency which provides correctional services

          throughout the state of Idaho.

  8.      Defendant Warden Keith Yordy, was the acting warden at ISCI and also its

          medical unit, ICC, at all times relevant to this action and is employed by

           IDOC; Warden Yordy is sued only in his individual capacity.

  9        At all times relevant to this action, John/Jane Does I through X, whose true

           identities are presently unknown ("the Doe Defendants"), Defendants, are

           now and at all times relevant to this action were entities or individuals who

           were the agents, employees, independent contractors, subdivisions,

           franchisees, wholly-owned subsidiaries, or divisions of the Defendants

           specifically identified herein or are entities or individuals acting on behalf of,

           in   a master/servant or   principal lagent relationship with, or in concert with

           Defendants named herein.

  10.      At all times relevant to the events described herein, all Defendants were acting

           under color of state law and are thus sued in the individual as well as official

           capacities.




                   FACTS COMMON TO ALL CAUSES OF ACTION

  11.      Plaintiff realleges the precedingparagraphs           as though       fully set forth in haec

           verba.

  T2,      Corizon Defendants, a for-profit corporation, has a history, policy, andlor

           practice of denying or delaying prisoners' medical treatment at the Idaho State

           Correctional Institution ("IS    C   I"), including   Pl   aintiff.




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  13       Coizon Defendants has a history of not hiring qualified medical staff to care

          for the prisoners at ISCI.

  14.     Corizon Defendants were responsible for providing medical care and

          treatment to Plaintiff during the period of time, while Plaintiff was

          incarcerated, from early January 2016 until he was transported to St. Luke's

          Regional Medical Center ("SLRMC") in Boise on February 6,2016.

  15.     In order to obtain appropriate, medical care and treatment away from the

          correctional facility, Plaintiff swallowed a small, pencil sharpener razorblade,

           so the correctional personnel would be forced to transport    Plaintiff to SLRMC

           for appropriate, medical care for his left leg, which had developed a life-

          threatening infection of the soft tissues.

  t6       Corizon Defendants breached the local standards of care by failing to properly

           evaluate, examine, diagnose, andlreat the severe infection that had been

           roiling in Plaintiff   s   left leg.

  l7       Corizon Defendants were clearly ignoring    a   medical emergency which

           resulted from the severe soft tissue infection in Plaintiff s left leg. Coizon

           Defendants were also failing to properly care for Plaintiff s Crohn's Disease

           and breached the local standards of care in this regard as well.

  18.      Following his transport to SLRMC, Plaintiff was admitted inpatient to

           SLRMC on February 7,2017, into the Critical Care Unit. He was critically         ill

           due to a necrotizing soft tissue infection of his left leg and he was diagnosed

           at SLRMC    with severe sepsis and septic shock and was also suffering from




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        severe, abdominal pain and vomiting due to a flare-up of his Chrohn's

        Disease.

  t9    Due to the seriousness of the left leg infection, Plaintiff was immediately

        taken to the operating room for extensive debridement of the dead tissue in

        Plaintiff   s   left leg due to the soft tissue infection.

  20.   Ultimately, Plaintiff      s   left leg was amputated above the knee.

  2T,   Further, numerous other medical issues developed due to Respondent's

        negligence (i.e. a significant stroke, uncontrollable pain in the amputated leg,

        removal of a portion of his intestines which had been damaged due to the

        untreated Crohn's Disease, and the performance of a colostomy).

  22    Plaintiff was discharged from SLRMC on March 8,2016, after an entire

        month of inpatient hospitalization.

  23    Plaintiff did not receive his prosthetic leg until October 3,2016, which was

        seven (7) months after his discharge from          SLRMC. This significant delay led

        to preventable complications and further evidences the breaches of the local

        standards of care by Corizon Defendants.

  24.   Corizon Defendants has a history, policy, andlor practice of requiring medical

        staff to keep costs down by denying, and/or delaying prisoners' medical

        treatment.

  25    Defendants exhibited deliberate indifference to PlaintifPs medical needs,

        while Plaintiff was incarcerated at ISCI and         a ward    of the Idaho Depart   of

        Corrections ("IDOC").




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  26      By Corizon Defendants' history, policies, andlor practices to treat every

          prisoner the same regardless of their medical condition, in destroying,

           concealing, andlor losing prisoners' medical records, and by denying andlor

           delaying prisoners' medical treatment, Plaintiff suffered seriouso health

           conditions included, but was not limited to, necrotizing fasciitis, severe sepsis,

           with septic shock, encephalopathy, respiratory and renal failure, cerebral

           infarction, andlor other significant infection(s) secondary to group A

           Streptococcus aureus or other microbes.

  27       Corizon Defendants failed to diagnose and treat these serious, health

           conditions which Plaintiff was experiencing, while he was incarcerated at the

           Idaho State Correctional Institution (hereafter   "ISCI"). These conditions

           caused Plaintiff to have his left leg amputated above the knee, to suffer a

           stroke or other vascular and or ischemic events, and to develop dangerous

           health conditions. The above-the-knee amputation of Plaintiffls left leg

           occurred on February   7   ,2016.

  28       During the period of time in question (i.e. January and February 2016),

           Defendants exhibited deliberate indifference to Plaintiff s serious, medical

           conditions and healthcare needs.

  29       Following Plaintifls return to ISCI on March 8,2016, after being discharged

           from St. Luke's Regional Medical Center ("SLRMC") in Boise, Idaho,

           Corizon Defendants continued to provide substandard, medical care and to

           exhibit deliberate indifference to Plaintiff s serious, medical conditions.




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  30.     Further, as Corizon Defendants had repeatedly failed to properly address,

          monitor, treat, or otherwise care for Plaintiff s serious, medical conditions,

           Plaintiff was left with no alternative but to swallow a small, pencil sharpener

          blade in order to force Coizon Defendants to transport Plaintiff to an acute

           care general hospital, which was (hereafter SLRMC in Boise. This set         of

           circumstances highlights the deliberate which Defendants exhibited to

           Plaintiff.

  31       Plaintiff has suffered significant tort damages for his personal injuries,

           including, but not limited to, the amputation of his left leg above the knee,

           medical expenses to date, future medical expenses, pain, suffering, emotional

           distress, mental anguish, physical disability, disfigurement, and permanent

           impairment due to Defendants' failure to timely and properly diagnose and

           treat Plaintiff s serious, medical conditions necessitating amputation of his left

           leg above the knee and also Defendants' failure to reasonably and promptly

           transfer Plaintiff to an acute care general hospital.

  32.      Plaintiff has exhausted all his administrative remedies regarding all the subject

           matters of this complaint and as required by the Prison Litigation Reform Act

           (PLRA),42 U.S.C. $1997, et seq.

  JJ.      Plaintiff alleges that his constitutional rights and privileges were violated due

           to the inadequate provision of medical care to Plaintiff, while he was

           incarcerated.

  34       By Defendants having a policy and custom in delaying and denying prisoners

           medical treatment to save costs in order to make a profit, by Corizon




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        Defendants not hiring qualified medical staff, and by Defendants having a

        policy and custom of delivering substandard, medical care to the inmates in

        their care and custody, Plaintiff has been subjected to cruel and unusual

        punishment in violation of his Eighth Amendment right to the United States

        Constitution.

  35    Defendants' custom of not hiring qualified staff to work at ISCI resulted in

        Gary Merchant's medical needs not being addressed and amounted to

        deliberate indifference to Plaintiff s medical needs in violation of his Eighth

        Amendment right to the United States Constitution.

  36.   Due to Coizon Defendants' failure to treat Gary Merchant's serious, medical

        conditions. Plaintiff suffered an amputation of his left leg above the knee,

        amounting to deliberate indifference to Plaintiff s medical needs in violation

        of his Eighth Amendment right to the United States Constitution.

  37.   Corizon Defendants' provision of medical care failed to meet the applicable,

        local standards of healthcare practice, as set forth in I.C. $$6-1012 and      l0l3
        and amounts to medical malpractice, negligence, recklessness,       willful   and

        wanton conduct, andlor deliberate indifference to Plaintiff s serious, medical

        needs.




 FIRST CAUSE OF ACTION - VIOLATION OF PLAINTIFF'S CIVIL RIGHTS
                   PURSUANT TO 42 U.S.C. 81983

  38.   Plaintiff realleges the precedingparagraphs   as though    fully set forth in haec

        verha.

  39    This cause of action is asserted against all Defendants.



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  40      Defendants were acting under color of state law while Plaintiff was under

          their care and custody and deprived Plaintiff of certain rights, privileges,

           andlor immunities which were secured by the United States Constitution and

          other laws. This deprivation of rights, privileges, and/or immunities (i.e.

          deliberate indifference to Plaintifls serious, medical needs) has caused

          Plaintiff to suffer damages in amounts to be determined at trial.

  4t.     As a direct and proximate result of Defendants' deprivation of the rights,

          privileges, andlor immunities due Plaintiff, Plaintiff has suffered damages

          which have been caused by Defendants.

  42.      As a result of Defendants' conduct, Plaintiff has been required to retain the

           professional services oflegal counsel in order to pursue the instant action to

           assert her legal and   civil rights, and thus Plaintiff requests an award of

           attorney fees and costs related to the prosecution of the instant matter.




 SECOND CAUSE OF ACTION                 - MEDICAL NEGLIGENCE/MALPRACTICE
  43.      Plaintiff realleges the preceding paragraphs    as though   fully set forth in haec

           verba.

  44.      This cause of action is asserted against all Corizon Defendants.

  45.      Corizon Defendants owed Plaintiff duties of care to act reasonably and to

           provide him with competent, medical services which complied with the

           standards of healthcare practice for the geographic community in and

           surrounding Boise, Idaho, for the relevant time period.




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  46    Corizon Defendants breached the duties of care which they owed Plaintiff,

        failed to provide competent, medical services to Plaintiff, and breached the

        local standards of healthcare practice in the relevant community (i.e. Boise,

        Idaho, in January and February 2016) during the relevant time period. The

        specific breaches of the local standards of care applicable to this case include,

        but are not limited to, the following:

        a.   Failing to properly evaluate, examine, diagnose, and treat Plaintiff      s


             necrotizing, left leg, soft tissue infection;

        b.   Failing to properly and timely transport Plaintiff to SLRMC;

        c.   Failing to properly diagnose and treat Plaintiff s Crohn's Disease;

        d.   In light of Plaintiffls history of congestive heart failure, aheart attack and

             worsening heart failure should have been considered and excluded.

             Respondents performed so such investigation. Failing to do so was a

             breach ofthe local standard ofcare;

        e.   Despite the lack of a proper evaluation, examination, and diagnosis        of

             Plaintiff   s   left leg, Respondent Migliori prescribed Lasix (a diuretic),

             resuming a blood thinner (Coumadin), and also prescribed pressure

             stockings to control the swelling in Plaintiff s left leg. These therapies

             were potentially harmful to Plaintiff, particularly the pressure stockings in

             light of the necrotizing, soft tissue infection in the left leg. Ordering these

             harmful therapies without pursuing a proper diagnosis was a breach of the

             local standard ofcare; and




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        f.   In the week prior to Plaintiff   s   hospitalization at SLRMC, Plaintiff had

             requested medical care in writing five times. His pleas for proper, medical

             care    fell and deaf ears and were not   addressed   by Respondents. The

             failure to properly address these repeated requests for proper, medical care

             outside of the correctional facility was a breach of the local standard     of

             care.

  47    Corizon Defendants' breaches of the duties of care which they owed Plaintiff

        and their violations of the applicable, local standards of healthcare practice, as

        outlined above, were the proximate cause of damages to Plaintiff.

  48    As a direct and proximate result of the acts and omissions of Corizon

        Defendants, as well as their negligent, reckless, willful, wanton, andlor

        otherwise tortious conduct, Plaintiff has incurred significant medical bills and

        other economic, special damages in amounts to be proven at trial.

  49.   As a direct and proximate result of the acts and omissions of Corizon

        Defendants, as well as their negligent, reckless, willful, wanton, and/or

        otherwise tortious conduct, Plaintiff has incurred lost wages andlor a loss       of

        future earning capacity in amounts to be proven at trial.

  50.   As a direct and proximate result of the acts and omissions of Corizon

        Defendants, as well as their negligent, reckless, willful, wanton, andlor

        otherwise tortious conduct, Plaintiff has suffered noneconomic damages for,

        among other things, pain and suffering, emotional distress, humiliation, and

        the loss of the ability to perform daily activities in amounts to be proved at

        trial.




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  5l    Plaintiff has been required to retain the services of Johnson & Monteleone,

        L.L.P., in connection with the prosecution of this action and requests that the

        attorney fees and litigation costs associated with this representation be paid by

        Coizon Defendants.



   THIRD CAUSE OF ACTION - NEGLIGENT RETENTION, TRAINING,
                      AND SUPERVISION

  52.   Plaintiff realleges the foregoingparagraphs     as though   fully set forth in haec

        verba.

  53.   These causes of action are asserted only againstCoizon Defendants.

  54.   Corizon Defendants repeatedly failed to hire competent, qualified, medical

        staff at ISCI, though it had a duty to do so.

  55    Corizon Defendants had a duty to properly and reasonably train and supervise

        their employees and/or agents who worked with Plaintiff.

  s6    Corizon Defendants failed to properly supervise andlor train its employees

        andlor agents relative to their examination, treatment, reporting, and medical

        oversight of Plaintiff.

  57    Defendants' failure to properly supervise and/or train its employees andlor

        agents was/were the proximate cause(s) of damages to Plaintiff.

  58    As a direct and proximate result of the acts and omissions of Defendants,        as


        well as their negligent, reckless, willful, wanton, andlor otherwise tortious

        conduct, Plaintiff has incurred significant medical bills and other economic,

        special damages in amounts to be proven at trial.




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  59       As a direct and proximate result of the acts and omissions of Defendants,     as


           well as their negligent, reckless, willful, wanton, andlor otherwise tortious

           conduct, Plaintiff has incurred lost wages andlor a loss of future eaming

           capacity in amounts to be proven at trial.

  60.      As a direct and proximate result of the acts and omissions of Defendants,     as


           well as their negligent, reckless, willful, wanton, andlor otherwise tortious

           conduct, Plaintiff has suffered noneconomic damages for, among other things,

           pain and suffering, emotional distress, humiliation, and the loss of the ability

           to perform daily activities in amounts to be proved at trial.

  6t.      Plaintiff has been required to retain the services of Johnson & Monteleone,

           L.L.P., in connection with the prosecution of this action and requests that his

           attorney fees and litigation costs associated with this representation be paid by

           Defendants.




                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

  1.       For Plaintiff s special and general damages in amounts which may be proven

           at ti'al and which meet the jurisdictional threshold of the District Court;

  2.       For costs of the action incurred herein;

  3.       For reasonable attorney fees to be determined by the Court; and

  4.       For such other and further relief, as this Court deems just, equitable, and

           proper.




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                          ,   -s*
       DATED: This I -dayofApril,2}lg


       JOHNSON & MONTELEONE, L.L.P


              R.N
         ttorneys




                                 DEMAND FOR JURY TRIAL

       Pursuant to F.R.C.P. 38(b), Plaintiffs hereby demand   atial   by   jury on any and all

issues properly triable by    jury in this action.


                              ,9t
       DATED: This J-1auv of April,2019.



       JOHNSON &                              L.L.P.


              R.N.
                    for




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